     Case 5:20-cv-05023-LLP Document 1-1 Filed 04/03/20 Page 1 of 2 PageID #: 7




STATE OF SOUTH DAKOTA                                   IN CIRCUIT COURT

COUNTY OF LAWRENCE                                      FOURTH JUDICIAL CIRCUIT



MATT NASUTI,
                                                                CIV. 20-45
               Plaintiff,

v.                                                STATE COURT NOTICE OF FILING
                                                      NOTICE OF REMOVAL
WALMART, INC.,

               Defendant.


        Defendant Walmart Inc. respectfully notifies this Court of the removal of this case

to the United States District Court for the District of South Dakota. Removal is based

upon diversity of citizenship jurisdiction under 28 U.S.C. §§ 1332 and 1441. A true and

correct copy of the Notice of Removal filed in the United States District Court for the

District of South Dakota, Western Division is attached hereto and incorporated herein.

        Dated this 3rd day of April 2020.

                                        WALMART INC., Defendant


                                        By: /s/Christopher R. Hedican
                                            Christopher R. Hedican (SD# 3659)
                                            Mike Roccaforte (pro hac vice pending)
                                        of  BAIRD HOLM LLP
                                            1700 Farnam St, Ste 1400
                                            Omaha, NE 68102-2068
                                            Phone: 402-344-0500
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                                            Email: mroccaforte@bairdholm.com
   Case 5:20-cv-05023-LLP Document 1-1 Filed 04/03/20 Page 2 of 2 PageID #: 8




                              CERTIFICATE OF SERVICE

       I hereby certify that on this 3rd day of April 2020, I electronically filed the
foregoing with the Clerk of the Court using the electronic filing system and separately
sent notification of such filing via e-mail to:

                 Matt Nasuti
                 Pro Se Plaintiff
                 mattnasuta@hotmail.com



                                                     /s/Christopher R. Hedican


DOCS/2444382.1




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